                 Case 2:20-cv-00037-JRG-RSP                                   Document 1-1                     Filed 02/14/20                      Page 1 of 1 PageID #:
JS 44 (Rev. 02/19)                                                     CIVIL COVER
                                                                                26 SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                         DEFENDANTS
    A.S. by and through his next friend and mother, Angela Germaine                                     The County of Harrison, Texas
    Spencer
      (b) County of Residence of First Listed Plaintiff Marshall                                          County of Residence of First Listed Defendant               Marshall
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

      (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
    Martin J. Cirkiel, Cirkiel & Associates, 1901 E. Palm Valley Blvd., Round                           County Attorney, the Honorable Chad Simms, Calhoun County
    Rock, Texas 78664; (512) 244-6658; Anthony O'Hanlon, 111 South                                      Courthouse, #1 Peter
    Travis Street, Sherman, Texas 75090; (903) 892-9133                                                 Whitestone Square, Room 414, Marshall, Tx 75760, (903) 935-8401

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1      U.S. Government            ’ 3   Federal Question                                                                     PTF       DEF                                            PTF      DEF
           Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1        Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                      of Business In This State

’ 2      U.S. Government            ’ 4   Diversity                                              Citizen of Another State          ’ 2    ’    2    Incorporated and Principal Place    ’ 5     ’ 5
           Defendant                        (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                 Citizen or Subject of a           ’ 3    ’    3    Foreign Nation                      ’ 6     ’ 6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
I           CONTRACT                                        TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                     OTHER STATUTES             I
  ’ 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY               ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158           ’ 375 False Claims Act
  ’ 120 Marine                     ’ 310 Airplane               ’ 365 Personal Injury -                of Property 21 USC 881        ’ 423 Withdrawal                  ’ 376 Qui Tam (31 USC
  ’ 130 Miller Act                 ’ 315 Airplane Product             Product Liability          ’ 690 Other                               28 USC 157                        3729(a))
  ’ 140 Negotiable Instrument             Liability             ’ 367 Health Care/                                                                                     ’ 400 State Reapportionment
  ’ 150 Recovery of Overpayment ’ 320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                 ’ 410 Antitrust
        & Enforcement of Judgment         Slander                     Personal Injury                                                ’ 820 Copyrights                  ’ 430 Banks and Banking
  ’ 151 Medicare Act               ’ 330 Federal Employers’           Product Liability                                              ’ 830 Patent                      ’ 450 Commerce
  ’ 152 Recovery of Defaulted             Liability             ’ 368 Asbestos Personal                                              ’ 835 Patent - Abbreviated        ’ 460 Deportation
        Student Loans              ’ 340 Marine                       Injury Product                                                       New Drug Application        ’ 470 Racketeer Influenced and
        (Excludes Veterans)        ’ 345 Marine Product               Liability                                                      ’ 840 Trademark                         Corrupt Organizations
  ’ 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY                           LABOR                     SOCIAL SECURITY                 ’ 480 Consumer Credit
        of Veteran’s Benefits      ’ 350 Motor Vehicle          ’ 370 Other Fraud                ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                ’ 485 Telephone Consumer
  ’ 160 Stockholders’ Suits        ’ 355 Motor Vehicle          ’ 371 Truth in Lending                  Act                          ’ 862 Black Lung (923)                  Protection Act
  ’ 190 Other Contract                   Product Liability      ’ 380 Other Personal             ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))          ’ 490 Cable/Sat TV
  ’ 195 Contract Product Liability ’ 360 Other Personal               Property Damage                   Relations                    ’ 864 SSID Title XVI              ’ 850 Securities/Commodities/
  ’ 196 Franchise                        Injury                 ’ 385 Property Damage            ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                      Exchange
                                   ’ 362 Personal Injury -            Product Liability          ’ 751 Family and Medical                                              ’ 890 Other Statutory Actions
                                         Medical Malpractice                                            Leave Act                                                      ’ 891 Agricultural Acts
I       REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS              ’ 790 Other Labor Litigation          FEDERAL TAX SUITS               ’ 893 Environmental Matters
  ’ 210 Land Condemnation          ’ 440 Other Civil Rights       Habeas Corpus:                 ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff       ’ 895 Freedom of Information
  ’ 220 Foreclosure                ’ 441 Voting                 ’ 463 Alien Detainee                   Income Security Act                  or Defendant)                    Act
  ’ 230 Rent Lease & Ejectment     ’ 442 Employment             ’ 510 Motions to Vacate                                              ’ 871 IRS—Third Party             ’ 896 Arbitration
  ’ 240 Torts to Land              ’ 443 Housing/                     Sentence                                                              26 USC 7609                ’ 899 Administrative Procedure
  ’ 245 Tort Product Liability           Accommodations         ’ 530 General                                                                                                Act/Review or Appeal of
  ’ 290 All Other Real Property    ’ 445 Amer. w/Disabilities - ’ 535 Death Penalty                    IMMIGRATION                                                           Agency Decision
                                         Employment               Other:                         ’ 462 Naturalization Application                                      ’ 950 Constitutionality of
                                   ’ 446 Amer. w/Disabilities - ’ 540 Mandamus & Other           ’ 465 Other Immigration                                                     State Statutes
                                         Other                  ’ 550 Civil Rights                     Actions
                                   ’ 448 Education              ’ 555 Prison Condition
                                                                ’ 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original               ’ 2 Removed from           ’ 3       Remanded from               ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                   ’ 8 Multidistrict
    Proceeding                 State Court                      Appellate Court                 Reopened                Another District             Litigation -                    Litigation -
                                                                                                                    (specify)                        Transfer                       Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       42 U.S.C. §1983 Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §794 and 42 U.S.C., §12101
VI. CAUSE OF ACTION Brief description of cause:
                                       Violation of civil rights as to 4th amendment free from excessive & unnecessary seizure & force 8th Amendment
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                             DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                              JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                         DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
    02/14/2020                                                     /s/ Martin J. Cirkiel
FOR OFFICE USE ONLY

     RECEIPT #                 AMOUNT                                    APPLYING IFP                                      JUDGE                           MAG. JUDGE

                  Print                          Save As...                                                                                                                   Reset
